Case 1:21-cv-00309-ELH Document 43-2 Filed 09/09/21 Page 1 of 5
Case 1:21-cv-00309-ELH Document 43-2 Filed 09/09/21 Page 2 of 5




                                                                  CM 0243
Case 1:21-cv-00309-ELH Document 43-2 Filed 09/09/21 Page 3 of 5




                                                                  CM 0244
Case 1:21-cv-00309-ELH Document 43-2 Filed 09/09/21 Page 4 of 5




                                                                  CM 0245
Case 1:21-cv-00309-ELH Document 43-2 Filed 09/09/21 Page 5 of 5




                                                                  CM 0246
